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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                  MEDFORD DIVISION


In re the Matter of J.P. and E.P:

ARNAUD PARIS,                                           Civ. No. 1:24-cv-00648-AA

                    Petitioner,                             OPINION & ORDER
              v.

HEIDI MARIE BROWN,

                    Respondent.


AIKEN, District Judge.

       This case comes before the Court on Petitioner's renewed Emergency Motion

for Order of Alternative Service. ECF No. 11. The Court denied Petitioner's previous

motions for alternative service, ECF Nos. 5, 9, with leave to renew in fourteen days

if, after diligent efforts, Petitioner was unable to serve Respondent by ordinary

means. In the renewed motion, Petitioner asserts that he has been unable to serve

Respondent and seeks leave to either serve Respondent by email or to have service

completed by the U.S. Marshals Service. For the reasons set forth below, the Motion

is GRANTED and the Court authorizes Petitioner to serve Respondent by email.

      The Federal Rules of Civil Procedure authorize four methods of service on an

individual:




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   (1) Following the state law for serving a summons in an action brought in courts

      of general jurisdiction in the state where the district court is located or where

      service is made; or

   (2) Doing any of the following:

       (A) Delivering a copy of the summons and the complaint to the individual

          personally;

       (B) Leaving a copy of each at the individual's dwelling or usual place of abode

          with someone of suitable age and discretion who resides there; or

       (C) Delivering a copy of each to an agent authorized by appointment or by law

          to receive service of process.

Fed. R. Civ. P. 4(e).

       Under state law, the Oregon Rules of Civil Procedure provide that:

       Summons shall be served, either within or without this state, in any
       manner reasonably calculated, under all the circumstances, to apprise
       the defendant of the existence and pendency of the action and to afford
       a reasonable opportunity to appear and defend ... Service may be made,
       subject to the restrictions and requirements of this rule, by the following
       methods: personal service of true copies of the summons and the
       complaint upon defendant or an agent of defendant authorized to receive
       process; substituted service by leaving true copies of the summons and
       the complaint at the person's dwelling house or usual place of abode;
       office service by leaving true copies of the summons and the complaint
       with a person who is apparently in charge of an office; service by mail;
       or service by publication.

Or. R. Civ. P. 7(D)(l).

       Oregon law provides for alternative service "when it appears that service is not

possible under any method otherwise specified in these rules or other rule or statute."




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Or. R. Civ. P. 7(D)(6). Such alternatives include service by email. Or. R. Civ. P.

7(D)(6)(b).

       Here, Petitioner has provided evidence of repeated efforts to serve Respondent,

which were unsuccessful. Petitioner has submitted evidence showing that he has

been in contact with Respondent via email and so the Court concludes that service by

email is reasonably calculated to apprise Respondent of the pendency of this action.

The Court will therefore GRANT leave for alternative service upon Respondent by

email at the email address heidimparis@gmail.com. However, as Petitioner is prose,

the Court will caution him that, as a party to this action, he is not permitted to be the

one to serve Respondent with the summons and complaint. See Fed. R. Civ. P. 4(c)(2)

("Any person who is at least 18 years old and not a party may serve a summons and

complaint." (emphasis added)).

       It is so ORDERED and DATED this __6~t~h_ _ day of May 2024.


                                          /s/Ann Aiken
                                         ANN AIKEN
                                         United States District Judge




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